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                           EXHIBIT 3
Case 1:18-cv-00172-MN Document 283-1 Filed 07/09/21 Page 7 of 32 PageID #: 7307



Jonathan Tuminaro
Director
202-772-8967
Fax: 202.371.2540
JTUMINAR@sternekessler.com



July 2, 2021

 Ian B. Brooks                                                                          Via Email
 McDermott Will & Emery                                                         ibrooks@mwe.com
 500 North Capitol Street, NW
 Washington DC 20001-1531


       Re:      TRUSTID, Inc. v. Next Caller Inc., 1:18-cv-00172-MN

Dear Ian:

       We write pursuant to paragraph 11 of the Protective Order.

        We received a hard copy of a portion of Next Caller’s source code in July 2019. Pursuant
to the parties’ agreement, counsel for TRUSTID retained two hardcopies (approximately 150
pages) in our office at 1100 New York Ave. NW, Washington, DC 20005.

        Last week, senior members of our trial team first learned that an electronic copy of these
hard copies had been created. Upon this discovery, we immediately investigated the
circumstances as to why the electronic copy of the source code was created, where it had been
saved, and who had access to it. The findings of our investigation follow.

        In preparing the Proposed Final Pretrial Order, the source code was identified as a
TRUSTID trial exhibit. In preparing TRUSTID’s trial exhibits in July 2020, a hard copy of the
source code was scanned for inclusion in a set of trial exhibits, which were then emailed as a
PDF attachment to a vendor who stamped TRUSTID’s trial exhibits. This electronic copy was
also saved in a network folder at our firm, and the access rights were limited to only those on the
TRUSTID trial team. Last week, this electronic copy was emailed to another vendor who is
assisting us with trial preparations. This time, the electronic copy was sent via a secure expirable
link. Neither vendor had signed Exhibit A of the Protective Order at the time they received the
exhibits, but they signed Exhibit A this week at our request.

        As part of this investigation, we have confirmed that both vendors destroyed all copies of
the source code exhibit from their email system and networks, including back-up copies. Our
firm has also destroyed all electronic copies of this exhibit on our firm’s network and email
system, including back-up copies. We can confirm that to the best of our knowledge, no
remaining electronic copies exist. We currently have two hard copies of the source code, which
are secure in locked locations. All of the remediation steps outlined in paragraph 11 of the
Protective Order have been completed.
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Ian B. Brooks
July 2, 2021
Page 2


      Please do not hesitate to contact me if you have any questions or wish to discuss.



                                           Sincerely,
                                           STERNE, KESSLER, GOLDSTEIN & FOX P.L.L.C.




                                           Jonathan Tuminaro
                                           Director


cc: Counsel of Record
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                           EXHIBIT 4
 Case 1:18-cv-00172-MN Document 283-1 Filed 07/09/21 Page 10 of 32 PageID #: 7310


                                                                                                                          mwe.com

                                                                                                                         Ian Brooks
                                                                                                                    Attorney at Law
                                                                                                                ibrooks@mwe.com
                                                                                                                   +1 202 756 8075




July 6, 2021

VIA E-MAIL

Jonathan Tuminaro
Sterne, Kessler, Goldstein & Fox P.L.L.C.
1100 New York Avenue, NW
Washington, DC 20005
JTUMINAR@sternekessler.com

Re:    TRUSTID, Inc. v. Next Caller Inc., 1:18-cv-00172-MN (D. Del.)

Dear Jonathan:

        I write in response to your July 2, 2021 letter regarding certain Protective Order violations
pertaining to Next Caller’s highly confidential source code. We are extremely concerned about your
firm’s unauthorized disclosure of Next Caller’s source code, the making of electronic copies of the source
code without prior written consent, and your firm’s lackadaisical response. Further, your letter provides
only minimal details and seeks to downplay the significance of this clear Protective Order (D.I. 46)
violation.

        As an initial matter, you and other “senior members” of TRUSTID’s trial team were aware of this
flagrant violation of the Protective Order before the Pretrial Conference on June 28. Pursuant to paragraph
11 of the Protective Order, you were required to “immediately [] notify [us], in writing, of the unauthorized
disclosure(s).” Not only did you fail to bring the unauthorized disclosures to our attention immediately,
but you chose not to tell us about them in our hallway discussions before the Pretrial Conference even as
you raised “logistical” issues about that very source code. As a result, we had no opportunity to raise the
breach with the Court. Your delay in bringing this breach to our attention is highly prejudicial.

        Moreover, the lack of details in your letter is troubling. For example, your letter indicates that
“senior members” of your trial team first learned of the making of unauthorized electronic copies during
the week of June 21, but does not say when other members of your team became aware of the making of
those electronic copies and the unauthorized disclosures. We want to know (1) when your firm first
became aware of the making of unauthorized electronic copies and any unauthorized disclosures, (2) who
was aware of the breach, (3) what was done when your firm first became aware of the breach, and (4) why
you did not bring this issue to our attention until July 2. We also want to know (5) who made extra copies
and for what purpose.

      Other important details missing from your letter include the identification of the “vendors” to
whom the source code was given and copies of the signed Exhibit As. We expect you to provide this

                               500 North Capitol Street, NW Washington DC 20001-1531 Tel +1 202 756 8000 Fax +1 202 756 8087

                               US practice conducted through McDermott Will & Emery LLP.
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July 6, 2021
Page 2

information promptly. The Protective Order at paragraph 6.3(k) requires the Receiving Party to maintain
a log of all copies of the Source Code, including the names of the recipients of all copies and where the
copies are stored. We also expect you to promptly provide a copy of the log.

        Finally, in light of your firm’s negligence in the handling of Next Caller’s source code, we demand
you return any and all remaining copies in your possession, and certify you no longer have any
copies. We understand that TRUSTID does not intend to rely on source code at trial, and therefore has
no basis to retain copies. Next Caller will maintain possession of any Next Caller source code from this
point forward, and have it available in the event it is needed.

        Given the severity of this matter, please provide a response and return all Next Caller source code
no later than tomorrow.

                                                             Sincerely,




                                                             Ian Brooks



CC: counsel of record
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                            EXHIBIT 5
Case 1:18-cv-00172-MN Document 283-1 Filed 07/09/21 Page 13 of 32 PageID #: 7313



 Jonathan Tuminaro
 Director
 202-772-8967
 Fax: 202.371.2540
 JTUMINAR@sternekessler.com



 July 7, 2021

 Ian B. Brooks                                                                            Via Email
 McDermott Will & Emery                                                           ibrooks@mwe.com
 500 North Capitol Street, NW
 Washington DC 20001-1531


        Re:      TRUSTID, Inc. v. Next Caller Inc., 1:18-cv-00172-MN

 Dear Ian:

        We write in response to your letter from yesterday. Although we disagree with several of
 your characterizations, including the notion that we have been “lackadaisical,” we provide our
 responses to your inquiries and clarify that we do intend to use the source code at trial.

          As stated in my July 2 letter, our team collected trial exhibits in July 2020 and provided
 them to a vendor to be stamped with PTX or JTX exhibit numbers. Specifically, on July 6, 2020,
 two associates on our team collected electronic copies of the exhibits to send to the vendor
 Barrister Digital Solutions. We have attached the signed acknowledgement form by Barrister
 Digital Solutions. Neither associate remembered the pertinent term in the Protective Order
 distinguishing this exhibit and scanned the available printed copy in order to compile a complete
 set of stamped trial exhibits. When the vendor returned the stamped electronic exhibits in July
 2020, a paralegal saved the exhibits on our firm’s network folder.

         On June 21, 2021, a paralegal sent a copy of all electronic trial exhibits to Fillichio &
 Hastings Litigation Consulting, a vendor assisting us with trial. There was no specific purpose in
 sending the source code, PTX-425, to Fillichio & Hastings other than it was sent as part of the
 exhibit trial folder for their reference in assisting us with trial preparations. I have attached the
 acknowledgement form signed by Fillichio & Hastings.

          On June 22, 2021, Dan Block, Mike Specht, Byron Pickard, and I became aware for the
 first time that an electronic copy of PTX-425 had been made because an internal email was
 circulated that included a copy of PTX-425. Starting that day, we began an internal investigation
 to understand the situation and why and when this electronic copy had been created. Sterne
 Kessler’s computer network was inaccessible to all users during an IT infrastructure upgrade
 project from the evening of June 25 through 27, so our investigation continued the week of June
 28. In the time between when we first identified this issue and the date of my prior letter, we
 reached out to Barrister Digital and Fillichio & Hastings, scanned our internal network and
 servers, and requested each member of our team to confirm that no other copies of the exhibit
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 Ian B. Brooks
 July 7, 2021
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 existed. Once this was completed, we notified you of not only the issue but also the steps we had
 taken to resolve it, pursuant to the instruction in the Protective Order.

        In response to your request, we prepared the attached log based on contemporaneous
 records. As previously stated, Sterne Kessler maintains two hard copies in locked locations. Two
 experts also possess hard copies, as permitted by section 6.3(f).

          Please note that contrary to the suggestion in your letter, TRUSTID does intend to rely on
 source code at trial during the direct testimony of James Bress. As noted in an email from my
 team on July 5, PTX-425 is still an exhibit on Plaintiff’s list, so we need to retain the hard copies
 of this exhibit. Further, for the purposes of using the exhibit at trial, we will likely need an
 additional hard copy pursuant to 6.3(j) to account for simultaneous use by a witness, the court,
 and the attorneys.

         It is unclear what prejudice Next Caller has suffered in not being able to raise this issue
 with the Court during the Pretrial Conference. The Protective Order specifies the actions required
 in case of unauthorized disclosure, and we have fulfilled those requirements. To the extent that
 you have any further questions or concerns, we are available for a call.



                                               Sincerely,
                                               STERNE, KESSLER, GOLDSTEIN & FOX P.L.L.C.




                                               Jonathan Tuminaro
                                               Director


 cc: Counsel of Record
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                            EXHIBIT 6
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                            EXHIBIT 7
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                                              EXHIBIT A

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE



    TRUSTID, INC.,

                   Plaintiff,

                   v.                                Civil Action No. 18-172-LPS-CJB

    NEXT CALLER INC.,

                   Defendant.



     ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND BY STIPULATED
                       PROTECTIVE ORDER

            John
         I, _ __ Capasso
                   _ _ _, am employed by _BDS
                                           _ _ _ _ _, and state that I have read and

  reviewed in its entirety the annexed Protective Order ("Protective Order") that has been entered

  in this matter. I hereby agree to be bound by and to comply with the terms of the Protective

  Order, and not to disseminate or disclose any information subject to the Protective Order that I

  review or about which I am told, to any person, entity, party or agency for any reason, except as

  permitted under the terms of the Protective Order. I understand that contempt sanctions may be

  entered for violation of this Protective Order and hereby submit to the jurisdiction of this Court

  for the purposes of enforcement of the terms of this Protective Order, even if such enforcement

  proceedings occur after termination of this action. I declare under penalty of perjury of the laws

  of the United States that the foregoing is true and correct.
                                            John Capasso
                                 Signature: _ _ _ _ _ __
                                 Name: _ John
                                           __ Capasso
                                                _ _ _ _ __
                                                 Managing
                                 Title/Employer: _ _ _ _Partner
                                                          __
                                       6-30-21
                                 Date: _  _ _ _ _ _ _ _ __
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                            EXHIBIT 8
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TRUSTID v. Next Caller
Case No. 18-172 (D. Del.)
Source Code LOG


 Bates Range           Copy   Recipient       Affiliation      Date            Location

 NXTCLR-               A      Rien Groskopf   Sterne Kessler   July 22, 2019   Located in locked litigation work room at
 SOURCECODE-                  (paralegal)                                      Sterne Kessler office; used to create copies
 000000000001-146                                                              B and C

                                              Sterne Kessler   July 26, 2019   Temporarily removed from work room to
                                                                               create copy D for use at deposition

                              Daniel Block    Sterne Kessler   September 24,   Temporarily removed from work room to
                              (Attorney)                       2019            create copy E for expert

                              Rob Stout       Sterne Kessler   July 6, 2020    Temporarily removed from work room to
                              (Attorney)                                       be scanned for exhibit stamping

                              Tanya J. Wood   Sterne Kessler   June 30, 2021   Located in locked brief case at home
                              (paralegal)                                      remote work office of Tanya Wood for trial
                                                                               preparation

                                              Sterne Kessler   July 7, 2021    Located in locked cabinet at Young
                                                                               Conway office in Wilmington, DE

 NXTCLR-               B      Daniel Block    Sterne Kessler   July 22, 2019   Located in locked box in Daniel Block’s
 SOURCECODE-                  (Attorney)                                       office/remote work home office
 000000000001-146
                                              Sterne Kessler   July 7, 2021    Located in a locked safe in hotel in
                                                                               Wilmington, DE

 NXTCLR-               C      Isaac Pflaum    Quandary Peak    July 22, 2019   Located at Pflaum’s home office in
 SOURCECODE-                  (Expert)        Research LLC                     Chicago in a locked cabinet.
 000000000001-146
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TRUSTID v. Next Caller
Case No. 18-172 (D. Del.)
Source Code LOG

 NXTCLR-               D     Daniel Block   Sterne Kessler   July 26, 2019    Created for use at deposition of M.
 SOURCECODE-                 (Attorney)                                       Williams; located in locked box in Sterne
 000000000001-146                                                             Kessler office and then in locked safe in
                                                                              hotel in New York, NY

                                            Sterne Kessler   August 3, 2019   Destroyed after use at deposition

 NXTCLR-               E     James Bress    AST Technology   September 24,    Located at Bress’s office at AST
 SOURCECODE-                 (Expert)       Labs             2019             Technology Labs in a locked cabinet.
 000000000001-146
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                            EXHIBIT 9
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                                          10                                 UNITED STATES DISTRICT COURT
For the Northern District of California




                                          11                              NORTHERN DISTRICT OF CALIFORNIA
    United States District Court




                                          12                                          SAN JOSE DIVISION
                                          13
                                               APPLE INC., a California Corporation, )                Case No.: CV 11-01846 LHK
                                          14                                         )
                                                                       Plaintiff,    )                ORDER RE: APPLE’S MOTION FOR
                                          15          v.                             )                SANCTIONS
                                                                                     )
                                          16   SAMSUNG ELECTRONICS CO., LTD., a      )                (Re: Docket No. 2374 -2 and 2434)
                                          17   Korean corporation; SAMSUNG           )
                                               ELECTRONICS AMERICA, INC., a New York )
                                          18   corporation; and SAMSUNG              )
                                               TELECOMMUNICATIONS AMERICA, LLC, )
                                          19   a Delaware limited liability company, )
                                                                                     )
                                          20                           Defendants.   )
                                          21                                         )

                                          22
                                                      Time and again in competitor patent cases, parties resist producing confidential information
                                          23
                                               to their adversaries’ lawyers. They fear, among other things, that the lawyers will insufficiently
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                                          25   shield the information from the competitors that they represent. Yet time and again, the court

                                          26   assuages these fears with assurances that a protective order will keep the information out of the

                                          27   competitors’ hands.
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                                               Case No.: C 11-01846 LHK
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                                           2          A casual observer might reasonably wonder what magic a protective order works that

                                           3   allows outside counsel access to confidential information to advance the case without

                                           4   countenancing untoward uses by the client.
                                           5          The answer is not a magical one at all: confidential information remains confidential
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                                               because counsel and clients alike follow court orders. If parties breach this basic rule, the court’s
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                                               assurances become meaningless.
                                           8
                                                      There is reason to believe the rule has been breached in the present case.
                                           9

                                          10          Here is what is known at this point. During the massive fact discovery in this case between
For the Northern District of California




                                          11   August 2011 and March 2012, Apple produced copies of a number of its patent license agreements,
    United States District Court




                                          12   including a June 2011 license between Apple and Nokia. Apple marked the Apple-Nokia license
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                                               as “Highly Confidential --Attorney Eyes’ Only” as permitted by the court's protective order. Apple
                                          14
                                               also produced and marked as “Highly Confidential --Attorney Eyes’ Only” similar patent license
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                                               agreements it has reached with Ericsson, Sharp, and Philips.
                                          16
                                                      As fact discovery transitioned to expert discovery, on March 24, 2012, Samsung’s outside
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                                          18   counsel sent Samsung a draft expert report by Dr. David J. Teece. Dr. Teece’s report concerned

                                          19   damages to be awarded for Apple’s alleged infringement of Samsung’s asserted declared-essential
                                          20   patents. Because it addressed highly confidential, attorneys’ eyes only information, the report
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                                               should have been fully redacted of that information before it was sent. However, intentionally or
                                          22
                                               inadvertently, it was not. The report as distributed included key terms of each of the four Apple
                                          23
                                               license agreements.
                                          24

                                          25          Samsung’s outside counsel posted the report on an FTP site that was accessible by Samsung

                                          26   personnel. An email providing instructions to access the FTP site was addressed to the regular

                                          27   client distribution list used by counsel to provide Samsung personnel updates regarding this case.
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                                               Case No.: C 11-01846 LHK
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                                               The information was then sent, over several different occasions, to over fifty Samsung employees,
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                                           2   including high-ranking licensing executives. Specifically, on at least four occasions between

                                           3   March 24, 2012 and December 21, 2012, Samsung's outside counsel emailed a copy of some

                                           4   version of the report to Samsung employees, as well as various counsel representing Samsung in
                                           5   courts and jurisdictions outside the United States.
                                           6
                                                      At this point, things get murky. According to a declaration from Nokia’s Chief Intellectual
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                                               Property Officer, Paul Melin, on June 4, 2013, in a meeting between Samsung and Nokia licensing
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                                               executives, Dr. Seungho Ahn informed Nokia that the terms of the Apple-Nokia license were
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                                          10   known to him. Specifically, according to Mr. Melin, Dr. Ahn stated that Apple had produced the
For the Northern District of California




                                          11   Apple-Nokia license in its litigation with Samsung, and that Samsung’s outside counsel had
    United States District Court




                                          12   provided his team with the terms of the Apple-Nokia license. Mr. Melin recounts that to prove to
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                                               Nokia that he knew the confidential terms of the Apple-Nokia license, Dr. Ahn recited the terms of
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                                               the license, and even went so far as to tell Nokia that “all information leaks.” Mr. Melin also
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                                               reports that Dr. Ahn and Samsung then proceeded to use his knowledge of the terms of the Apple-
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                                          17   Nokia license to gain an unfair advantage in their negotiations with Nokia, by asserting that the

                                          18   Apple-Nokia terms should dictate terms of a Samsung-Nokia license.

                                          19          It is possible that Dr. Ahn’s encounter with Mr. Melin occurred very differently.
                                          20   Unfortunately, the court cannot say, because Samsung has elected not to provide the court with any
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                                               sworn testimony from Dr. Ahn or anyone else at the meeting. Samsung also has failed to supply
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                                               the court with any evidence at all regarding other uses of the Apple-Nokia license, or those of the
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                                               other confidential licenses. In fact, despite acknowledging that many dozens of individuals at
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                                          25   Samsung and its other counsel have knowledge of confidential license terms that they had no right

                                          26   to access, at yesterday’s hearing, Samsung’s counsel repeatedly denied even one violation of the

                                          27   protective order, asserting that such a violation can only occur willfully. Counsel further denied
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                                               Case No.: C 11-01846 LHK
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                                               the need for any formal discovery into the matter, even though three months after the breach was
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                                           2   brought to its counsel’s attention, Samsung is unable to provide evidence on even the most basic

                                           3   questions, such as: who has now had access to the confidential licensing information? For what

                                           4   purpose? When? Where? How? Has Samsung relied on any of the confidential information in
                                           5   taking any position before any other court or jurisdiction? Exactly what steps has Samsung taken
                                           6
                                               to prevent dissemination and use of the confidential information in the future? In each instance,
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                                               the only response available seems to be, “We’re working on it.”
                                           8
                                                      Samsung does offer to provide Apple, at some indeterminate point in the future, a log of
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                                          10   documents associated with the transmissions of the Teece report. The log is to be developed under
For the Northern District of California




                                          11   the investigation protocol that Samsung negotiated to address Nokia's motion for a protective order
    United States District Court




                                          12   in the companion 12-630 case, which arose from the same incident in the companion 12-630 case.
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                                               Under that protocol, Samsung has retained an outside firm to prepare the contemplated log by
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                                               forensically analyzing various hard drives, servers and browser histories. The firm does not,
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                                               however, intend to conduct interviews of any Samsung employee or attorney at all. The firm also
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                                          17   is not directed to address in any way Samsung’s disclosure of the terms of the Apple-Ericsson,

                                          18   Apple-Phillips, or Apple-Sharp licenses.

                                          19          This is insufficient.
                                          20          Whether the actions of Samsung and its counsel are worthy of sanctions, and what those
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                                               sanctions might be, the court cannot yet say. However, it can say that letting Samsung and its
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                                               counsel investigate this situation without any court supervision is unlikely to produce satisfactory
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                                               results. Rarely is the fox is permitted to investigate without supervision the disappearance of
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                                          25   chickens at the henhouse. It is equally intolerable to allow this situation to fester for weeks, let

                                          26   alone months, with a second trial rapidly approaching. That would be just as unfair to those who

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                                               may ultimately be shown to be innocent of any wrongdoing as to those who may have been
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                                           2   significantly harmed by improper conduct.

                                           3          To avoid such a result, the court hereby orders that, no later than October 16, 2013,

                                           4   Samsung shall produce to Apple the following:
                                           5      1. The e-mails listed on Attachment A to Mr. Becher’s August 1, 2013 letter to Mr. Selwyn;
                                           6
                                                      and
                                           7
                                                  2. All e-mails and other communications sent or received since March 24, 2012 by the
                                           8
                                                      Samsung employees who received the confidential information (more specifically, the
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                                          10          Samsung employees listed in the attachments to Mr. Becher’s August 1 letter) to the extent
For the Northern District of California




                                          11          that they relate to Apple’s licenses with Nokia, Ericsson, Sharp, and Philips.
    United States District Court




                                          12   By that same date, Samsung also shall make available for deposition:
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                                                  1. Dr. Ahn;
                                          14
                                                  2. A Rule 30(b)(6) witness to speak to the dissemination of and use by Samsung of the
                                          15
                                                      confidential information, including the use of the confidential information in any
                                          16

                                          17          proceeding before the United States International Trade Commission and in any court or

                                          18          jurisdiction outside the United States; and

                                          19      3. Up to five additional Samsung employees who are identified by Apple from Mr. Becher’s
                                          20          August 1 letter to address any and all communications they have had since March 24, 2012
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                                                      regarding Apple’s licenses with Nokia, Ericsson, Sharp, and Philips, including the dates of
                                          22
                                                      such discussions and the names of all participants in such discussions.
                                          23
                                               In addition to the stipulated relief in the 12-630 case, Nokia shall be allowed access to and full
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                                          25   participation in all of the above discovery, subject to the terms of the protective order.

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                                               Case No.: C 11-01846 LHK
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                                                      The parties shall appear for a further hearing on this motion on October 22, 2013 at 10:00
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                                           2   am. No later than October 21 at 9:00 am, each party may submit a supplemental brief no longer

                                           3   than 15 pages.

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                                               IT IS SO ORDERED.
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                                               Dated: October 2, 2013
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                                                                                           _________________________________
                                           8
                                                                                           PAUL S. GREWAL
                                           9
                                                                                           United States Magistrate Judge
                                          10
For the Northern District of California




                                          11
    United States District Court




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                                               Case No.: C 11-01846 LHK
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                          EXHIBIT 10
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN


 STATIC MEDIA LLC,
                                       Plaintiff,                         18-cv-330-wmc
        v.
 LEADER ACCESSORIES LLC,
                                       Defendant.



        On January 5, 2021, Judge Conley entered an order (dkt. 71) upholding my December

 24, 2020 order (dkt. 65) granting plaintiff’s motion for sanctions (dkt. 58). Plaintiff timely

 submitted its proposed fine and bill of costs (dkts. 72 & 73), to which defendant timely

 responded (dkts. 74 & 75), followed by a March 16, 2021 notice of supplemental authority by

 defendant (dkt. 76).

        Plaintiff has asked for a $1000 sanction for each of what it characterizes as two

 violations, plus reimbursement of $10,586.30 in attorneys fees representing 28.2 hours of work

 by three attorneys at an average rate of about $375/hr. Defendant argues against awarding any

 sanction at all, characterizing any violation as inadvertent and harmless. Indeed, defendant

 continues to imply that there were no genuine violations of the protective order, despite two

 judges in this court finding otherwise and deeming defendant’s actions to be sanctionable

 misconduct. Because this seems to be nagging at defendant, let’s be clear: scienter is not required

 for the court to find a violation of the protective order and impose a sanction. Defendant’s

 intent is irrelevant to finding a violation, although it could be relevant to the resulting penalty.

        But we don’t need to explore this further because plaintiff has requested only $1000 per

 violation. That’s an eminently reasonable number under the totality of circumstances as they

 are viewed by the court. Frankly, I had a higher number in mind, but I’m going with plaintiff’s
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 lower request. In a patent lawsuit, a sanction of one thousand dollars could be viewed as merely

 symbolic, but the message sent is important: when you sign a protective order, you had better

 understand what you have agreed to and then you had better comply with the terms of your

 agreement. Even unintended violations can cause the harm that the agreement was designed to

 prevent.

        Plaintiff alleges two violations based on two emails sent as part of one email string.

 Defendant responds that this should be viewed as one violation because the emails were part of

 one communication that had to be split in half due to the size of the attachment. I’m going with

 defendant on this one. The violation of the protective order was one discrete act that by

 technical happenstance resulted in two emails. So, the court is imposing a $1000 sanction.

        As for attorneys’ fees, the amount requested by plaintiff is reasonable. The amount of

 time that plaintiff’s attorneys spent on this issue was not excessive; indeed, much of it was

 necessitated by defendant’s appeal of the original sanction order, and plaintiff prevailed

 completely at both levels. The hourly rates charged are at or below the average in patent

 lawsuits litigated in this court.   Defendant’s dissection of plaintiff’s bill is unpersuasive.

 Mundane discovery disputes in commercial litigation routinely result in 20 to 30 hours of time

 spent and five-figure cost-shifting under Rule 37(a)(5), so a $10,000 request in this situation is

 unremarkable Having carefully considered all of defendant’s arguments in opposition to

 plaintiff’s request, I conclude that plaintiff is entitled to the amount requested, although I am

 rounding it down to an even $10K. Perhaps this number will go up if defendant appeals this

 order and loses, but I’m not going to look for trouble.




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                                              ORDER

        It is ORDERED that defendant Leader Accessories LLC and its counsel must pay $1000

 in sanctions to plaintiff Static Media LLC and must pay $10,000 in attorneys’ fees to Static

 Media’s attorneys not later than July 19, 2021.




        Entered this 17th day of June 2021.

                                              BY THE COURT:

                                              /s/
                                              _______________________
                                              STEPHEN L. CROCKER
                                              Magistrate Judge




                                                3
